Case 16-11833-pmm   Doc   Filed 09/30/22 Entered 09/30/22 10:57:02   Desc Main
                          Document      Page 1 of 5
Case 16-11833-pmm   Doc   Filed 09/30/22 Entered 09/30/22 10:57:02   Desc Main
                          Document      Page 2 of 5
Case 16-11833-pmm   Doc   Filed 09/30/22 Entered 09/30/22 10:57:02   Desc Main
                          Document      Page 3 of 5
Case 16-11833-pmm   Doc   Filed 09/30/22 Entered 09/30/22 10:57:02   Desc Main
                          Document      Page 4 of 5
Case 16-11833-pmm   Doc   Filed 09/30/22 Entered 09/30/22 10:57:02   Desc Main
                          Document      Page 5 of 5
